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  IT IS ORDERED as set forth below:



  Date: December 22, 2020
                                                    ________________________________
                                                                Paul Baisier
                                                        U.S. Bankruptcy Court Judge

  _______________________________________________________________

                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION
In re:                                          |   CASE NUMBER
                                                |
GOOD DEED 317, LLC,                             |   20-71227-PMB
                                                |
         Debtor.                                |   CHAPTER 11
                                                |

         ORDER AND NOTICE SCHEDULING WEBEX CONFIRMATION HEARING
          On December 11, 2020, counsel for the above-named Debtor filed an Amended Disclosure

Statement for Amended Plan of Reorganization (the “Disclosure Statement”)(Docket No. 35) and

Amended Plan of Reorganization (the “Plan”)(Docket No. 36). On December 16, 2020 the Court

entered an Order and Notice (A) Conditionally Approving Debtor’s Disclosure Statement for Plan

of Reorganization, (B) Establishing Balloting and Objection Deadlines, and (C) Scheduling

Confirmation Hearing and Final Hearing on Disclosure Statement (the “Conditional

Approval”)(Docket No. 40). The Conditional Approval conditionally approved the Disclosure

Statement and set a hearing to consider confirmation of the Plan and final approval of the

Disclosure Statement for January 19, 2021 (the “Confirmation Hearing). In view of the continuing
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COVID-19 pandemic, the Confirmation Hearing will need to be held by video conference.

Consequently, it is hereby

           ORDERED that the Confirmation Hearing will be conducted via WebEx. It is further

           ORDERED that all creditors and parties in interest that desire to present evidence or make

argument at the Confirmation Hearing (the “Parties”)1 will participate in a WebEx practice session

conducted by the Court, which session will be attended by counsel for all such Parties and by all

witnesses on January 15, 2021 at 11:00 A.M. or on such other date and time as the Court may

direct.2 It is further

           ORDERED that the Parties shall be required to file, no later than 12:00 P.M. on January

15, 2021 (i) an electronic copy of each exhibit that such Party intends to use at the Confirmation

Hearing3 (assuring each document can be accessed separately), and (ii) a list of witnesses that such

Party intends to call at the Confirmation Hearing.4 Parties are also required to e-mail a full set of

exhibits to Judge Baisier’s Chambers, as well as to the other Parties. And it is further

           ORDERED that if a Party becomes aware, after the deadline above, of other exhibits such

Party intends to use at the Confirmation Hearing, such Party shall inform the Court and the other

Parties as soon as such Party is aware of such exhibits. Such Party will also be required to file an

electronic copy of any additional exhibits on the docket in this case (assuring each document can



1
    Parties should contact Chambers at (404) 215-1010 to coordinate their attendance at the practice session.
2
 Creditors, parties in interest, and their counsel (“Non-participants”), who only wish to listen to the Confirmation
Hearing do not need to attend the practice session and will be able to attend the Confirmation Hearing by telephone.
Non-participants should contact Chambers at (404) 215-1010 for a dial-in number.
3
 Exhibits shall include the following: (i) a master list of exhibits and (ii) a complete set of labeled exhibits. All
exhibits shall be identified by letters (e.g., Exhibit A, B, C, etc.), or numbers (e.g., Exhibit 1-1, 1-2, 1-3, etc.).
4
  Inclusion of a name on a witness list simply informs all parties that you may call the witness, and does not in any
respect compel or otherwise require the attendance of that witness at the Confirmation Hearing, which must be
arranged or compelled by other available means.

                                                            2
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be accessed separately). The Court will consider the circumstances and determine whether and

for what purposes (if any) the Party can use the new exhibits. And it is further

        ORDERED that if a Party becomes aware, after the deadline above, of other witnesses

such Party intends to call at the Confirmation Hearing, such Party shall inform the Court and the

other Parties as soon as such Party is aware of such witness(es). The Court will consider the

circumstances and decide whether and for what purposes (if any) the Party may call such

witness(es). And it is further

        ORDERED that the Parties shall endeavor in good faith to agree prior to the Confirmation

Hearing to a stipulation of exhibits to be admitted.5 And it is further

        ORDERED that the Debtor’s Counsel shall, on or before December 28, 2020, serve a

copy of this Order and Notice Scheduling WebEx Confirmation Hearing on all creditors listed on

the mailing matrix and any parties that have filed a notice of appearance in this case, and on the

United States Trustee. The Debtor’s Counsel is further directed to file a certificate of service

setting forth the manner and method of all such service prior to the Confirmation Hearing.

                                         [END OF DOCUMENT]




5
 Even if an exhibit is admitted by stipulation, unless a witness testifies as to that exhibit so that the Court can
understand what the exhibit is and how it is relevant, such exhibit may not be reviewed or considered by the Court.

                                                        3
